 4:05-cr-03025-RGK-DLP             Doc # 42    Filed: 04/20/05    Page 1 of 1 - Page ID # 89




                        IN THE UNITED STATES COURT FOR THE
                               DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )      4:05CR3025
                      Plaintiff,                     )
                                                     )
              v.                                     )
                                                     )
SOKHA KEO,                                           )      ORDER
                                                     )
                      Defendant.                     )


       Upon consideration of the Government’s Motion to Continue Evidentiary Hearing, filing 41,

      IT IS SO ORDERED that the Motion is granted and the evidentiary hearing on defendant’s
Keo’s motion to suppress (filing 29) is continued to May 9, 2005 at 1:30 p.m.

       Dated this 20th day of April, 2005.

                                              BY THE COURT


                                              s/David L. Piester
                                              David L. Piester
                                              United States Magistrate Judge
